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                               United States District Court
                              Southern District of New York


Virginia L. Giuffre,

               Plaintiff,                     Case No.: 15-cv-07433-RWS

v.

Ghislaine Maxwell,

            Defendant.
________________________________/

            PLAINTIFF’S REDACTED MOTION TO COMPEL DEFENDANT
            TO ANSWER DEPOSITION QUESTIONS FILED UNDER SEAL1

       Plaintiff Virginia Giuffre, by and through her undersigned counsel, hereby files this

Motion to Compel Defendant to Answer Deposition Questions. During her recent deposition,

Defendant refused to answer numerous questions about allegedly “adult” sexual activity related

to Jeffrey Epstein. Because this activity is highly relevant to this case, Defendant should be

ordered to answer questions about it.

       As the Court is aware, this defamation case involves Ms. Giuffre’s assertions that she and

other females were recruited by Defendant to be sexually abused by Jeffrey Epstein under the

guise of being “massage therapists.” See Complaint, (DE 1), at ¶ 27 (Giuffre “described

Maxwell’s role as one of the main women who Epstein used to procure under-aged girls for

sexual activities and a primary co-conspirator and participant in his sexual abuse and sex

trafficking scheme”). In response to these assertions, Defendant has made the sweeping claim

that Ms. Giuffre’s assertions are “entirely false” and “entirely untrue.” Complaint, DE 1, at ¶ 31.

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  Defendant has labelled her entire deposition transcript as Confidential at this time. Counsel for
the parties conferred at the deposition regarding answering questions.
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       Yet during her deposition, Defendant refused to answer any questions that she construed

as having something to do with “consensual adult sex.” Defense counsel supported that position

that “frankly, [that’s] none of your business and I instruct the witness not to answer.” See

Declaration of Sigrid S. McCawley (“McCawley Decl.”) at Exhibit 1, Tr. of Maxwell Depo.

(Apr. 22, 2016) at 21. The result was that at a number of points throughout her deposition,

Defendant refused to answer questions about subjects integral to this lawsuit, including questions

about what the alleged “massage therapists” were doing at Jeffrey Epstein’s house and the sexual

nature of those massages.

       For example, Defendant refused to answer questions about whether she had given Jeffrey

Epstein a massage:

               Q. Have you ever given Jeffrey Epstein a massage?
               MR. PAGLIUCA: Object to the form, foundation. And I'm going to
       instruct you not to answer that question. I don't have any problem with you
       asking questions about what the subject matter of this lawsuit is, which would
       be, as you've termed it, sexual trafficking of Ms. Roberts.
               To the extent you are asking for information relating to any consensual
       adult interaction between my client and Mr. Epstein, I'm going to instruct her not
       to answer because it's not part of this litigation and it is her private confidential
       information, not subject to this deposition.
                MS. McCAWLEY: You can instruct her not to answer. That is your
       right. But I will bring her back for another deposition because it is part of the
       subject matter of this litigation so she should be answering these questions. This
       is civil litigation, deposition and she should be responsible for answering these
       questions.
               MR. PAGLIUCA: I disagree and you understand the bounds that I put on
       it.
              MS. McCAWLEY: No, I don't. I will continue to ask my questions and
       you can continue to make your objections.
              Q. Did you ever participate from the time period of 1992 to 2009, did
       you ever participate in a massage with Jeffrey Epstein and another female?
               MR. PAGLIUCA: Objection. Do not answer that question. Again, to the
       extent you are asking for some sort of illegal activity as you've construed in

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          connection with this case I don't have any problem with you asking that question.
          To the extent these questions involve consensual acts between adults, frankly,
          they're none of your business and I will instruct the witness not to answer.
                 MS. McCAWLEY: This case involves sexual trafficking, sexual abuse,
          questions about her having interactions with other females is relevant to this case.
          She needs to answer these questions.
                 MR. PAGLIUCA: I'm instructing her not to answer.
                 MS. McCAWLEY: Then we will be back here again.


See McCawley Decl. at Exhibit 2, Tr. of Maxwell Depo. (Apr. 22, 2016) at 19-22 (emphasis

added).

          Defendant’s participation in massages with Epstein is a central part of this case. Ms.

Giuffre has explained that during her first sexual encounter with Jeffrey Epstein, it was

Defendant who provided instruction on how to do it and how to turn the massage into a sexual

event. Obviously, proof that Defendant had previously massaged Epstein – include massages

with sexual component – would provide important corroboration for Ms. Giuffre’s testimony at

trial. And proof that Defendant was involved in massages will further help prove that

statements to the press that Virginia’s allegations were “obvious lies” was itself an obvious lie.

          As another example, Defendant refused to answer questions about her knowledge that

Johanna Sjoberg was hired to work for Epstein and provided massages. In the police report,

Johanna admitted that Maxwell recruited her to work for Epstein. See McCawley Decl. at

Exhibit 3, Giuffre000076-77 (police report indicating that Johanna was recruited by Maxwell).

Yet during Defendant’s deposition, she refused to answer questions regarding Johanna Sjoberg.

                 Q. Do you know what tasks Johanna was hired to performance?
                 A. She was tasked to answer telephones.
                 Q. Did you ever ask her to rub Jeffrey's feet? . . .
                 A. I believe that I have read that, but I don't have any memory of it.


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                 Q. Did you ever tell Johanna that she would get extra money if she
          provided Jeffrey massages?
                  A. I was always happy to give career advice to people and I think that
          becoming somebody in the healthcare profession, either exercise instructor or
          nutritionist or professional massage therapist is an excellent job opportunity.
          Hourly wages are around 7, 8, $9 and as a professional healthcare provider you
          can earn somewhere between as we have established 100 to $200 and to be able to
          travel and have a job that pays that is a wonderful job opportunity. So in the
          context of advising people for opportunities for work, it is possible that I would
          have said that she should explore that as an option.
                 Q. Did you tell her she would get extra money if she massaged Jeffrey?
                 A. I'm just saying, I cannot recall the exact conversation. I give career
          advice and I have done that.
                 Q. Did you ever have Johanna massage you?
                 A. I did.
                 Q. How many times?
                 A. I don't recall how many times.
                 Q. Was there sex involved?
                 A. No. . . .
                 Q. Did you ever have sexual contact with Johanna?
                  MR. PAGLIUCA: Object to the form and foundation. You need to give
          me an opportunity to get in between the questions.
          Anything that involves consensual sex on your part, I'm instructing you
          not to answer.
                 Q. Did you ever have sexual contact with Johanna?
                 A. [MR. PAGLIUCA?] Again, she is an adult --
                 Q. I’m asking you, did you ever have sexual contact with Johanna?
                 A. I’ve just been instructed not to answer.
                 Q. On what basis?
                 A. You have to ask my lawyer.


See McCawley Decl. at Exhibit 4, Tr. of Maxwell Depo. (Apr. 22, 2016) at 60-62 (emphasis

added).


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       Here again, this information is critical to the case. Among other things, these questions

are designed to show a modus operani (“M.O”) for Epstein and Maxwell – specifically, how they

recruited for a non-sexual massage than converted the massage into sexual activities.

       One last illustration comes from Defendant’s refusal to answer about her knowledge of

Epstein’s sexual interests during massages:

             Q. Does Jeffrey like to have his nipples pinched during sexual
       encounters?
               MR. PAGLIUCA: Objection to form and foundation.
              A. I'm not referring to any advice on my counsel. I'm not talking about
       any adult sexual things when I was with him.
             Q. When Jeffrey would have a massage, would he request that the
       masseuse pinch his nipples while he was having a massage?
               A. I'm not talking about anything with consensual adult situation.

See McCawley Decl. at Exhibit 5, Tr. of Maxwell Depo. (Apr. 22, 2016) at 82.

       While Epstein himself might also provide answers to these questions, it appears likely

that he will assert his Fifth Amendment privilege regarding his sexual activities. Accordingly,

Ms. Giuffre must pursue questioning of Maxwell to obtain information on this subject. Here

again, information about Epstein’s sexual idiosyncrasies will provide important corroboration to

Ms. Giuffre’s testimony that she had sexual interactions of an identical nature with Epstein.

       These refusals are not an isolated instance. Instead, similar refusals to answer questions

occurred repeatedly throughout the deposition. See, e.g., McCawley Decl. at Composite Exhibit

6. 52-55; 64-65; 82; 92-93; 137-38; 307-09.

       The Court should compel Defendant to answer all these questions. In addition to the

specific points made above, the “big picture” here reveals how vital such discovery is. At the

core of Ms. Giuffre’s allegations is the allegation that Defendant lured her into a sexual situation

with the offer of a job making money as a massage therapist; that Epstein always habitually tried

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to turn massages into sex (that was his modus operandi and plan all along); and that Maxwell

recruited other females for an ostensibly proper position, such as therapeutic masseuse, with

knowledge that the intent was for that person would be pressured to provide sexual gratification

to Epstein. As a result, Epstein’s use of massages for sexual purposes is a central part of this

case.

        And Defendant’s role in those massages – and knowledge of the purposes of those

massages – is a critical piece of evidence showing her state of mind when she attacked Ms.

Giuffre’s assertions as “entirely untrue.” Ms. Giuffre intends to prove at trial that Defendant

knew full well the sexual purpose for which she was recruiting females – including underage

females like Ms. Giuffre. Ms. Giuffre is entitled to explore Defendant’s knowledge of the sexual

activities that took place under the guise of “massages.” Otherwise Defendant will be able to

portray to the jury an inaccurate picture of that what was happening at Epstein’s house what

nothing more than run-of-the-mill massage therapy. See, e.g., McCawley Decl. at Exhibit 7, Tr.

of Maxwell Depo. (Apr. 22, 2016) at 51 (“Q: Did [the pay for massage therapists] vary on what

sexual acts they performed? . . . A: No, it varied depending on how much time, some massage

therapists charge more and some charge less.”).

        Defendant’s refusal to answer questions about alleged “adult” consensual sex also blocks

Ms. Giuffre from seeking legitimate discovery in this case. By refusing to answer questions

about her and Epstein’s sexual activities with alleged “adults,” Defendant is essentially given the

ability to refuse to answer any sexual question she does not wish to answer. Defendant simply

has to deem the question as involving “consensual adult sex” and no need be given. The result is

to leave Ms. Giuffre with no way of exploring the identity of these alleged adults, the ages of

these alleged adults, and indeed whether they were adults at all. This allows Defendant to claim



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that she is unaware of any sexual activity involving underage females, because (she claims) the

only sexual activity she was aware involved adults.

        The Court should compel Ms. Maxwell to answer all questions about her knowledge

relating to sexual activities with Epstein and other females while at Epstein’s various homes. See

Fed. R. Crim. P. 37(a)(3)(B)(i); see, e.g., Kelly v. A1 Tech., No. 09 CIV. 962 LAK MHD, 2010

WL 1541585, at *20 (S.D.N.Y. Apr. 12, 2010) (“Under the Federal Rules, when a party refuses

to answer a question during a deposition, the questioning party may subsequently move to

compel disclosure of the testimony that it sought. The court must determine the propriety of the

deponent's objection to answering the questions, and can order the deponent to provide

improperly withheld answers during a continued deposition” (internal citations omitted)). Of

course, the party objecting to discovery must carry the burden of proving the validity of its

objections, particularly in light of “the broad and liberal construction afforded the federal

discovery rules . . . .” John Wiley & Sons, Inc. v. Book Dog Books, LLC, 298 F.R.D. 184, 186

(S.D.N.Y. 2014). For purposes of a deposition, the information sought “need not be admissible

at the trial if the discovery appears reasonably calculated to lead to the discovery of admissible

evidence.” Chen-Oster v. Goldman, Sachs & Co., 293 F.R.D. 557, 561 (S.D.N.Y. 2013) (citing

Fed.R.Civ.P. 26(b)(1)).

        Defendant cannot carry her burden of showing that the questions asked are not

reasonably calculated to lead to the discovery of admissible evidence. This is a case in which

sexual activities lie at the heart of the issues in dispute. As a result, it is hardly surprising to find

that discovery pertains to alleged “adult” sexual activities – and questions about such subjects are

entirely proper. See, e.g., Condit v. Dunne, 225 F.R.D. 100, 113 (S.D.N.Y. 2004) (in defamation

case, “Plaintiff is hereby ordered to answer questions regarding his sexual relationships in so far



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as they are relevant to a defense of substantial truth, mitigation of damages, or impeachment of

plaintiff.”); Weber v. Multimedia Entm't, Inc., No. 97 CIV. 0682 PKL THK, 1997 WL 729039, at

*3 (S.D.N.Y. Nov. 24, 1997) (“While discovery is not unlimited and may not unnecessarily

intrude into private matters, in the instant case inquiry into private matters is clearly relevant to

the subject matter of the suit. Accordingly, plaintiff Misty Weber shall respond to defendants'

interrogatories concerning her sexual partners . . . .”).

        Generally speaking, instructions from attorneys to their clients not to answer questions at

a deposition should be “limited to [issues regarding] privilege.” Morales v. Zondo, Inc., 204

F.R.D. 50, 54 (S.D.N.Y. 2001). In this case, defense counsel ranged far beyond the normal

parameters of objections and sought to decide for himself what issues were relevant. That was

improper and the Court should order a resumption of the Defendant’s deposition so that she can

answer questions about her knowledge of sexual activity relating to Jeffrey Epstein.

                                           CONCLUSION

        Defendant should be ordered to sit for a follow-up deposition and directed to answer

questions regarding her knowledge of alleged “adult” sexual activity.

Dated: May 5, 2016.

                                                Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 5th day of May, 2016, I electronically filed the

foregoing document with the Clerk of Court by using the CM/ECF system. I also certify that the

foregoing document is being served this day on the individuals identified below via transmission

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